DATE: November 1, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Markquall Antwoine Canada
             v. Commonwealth of Virginia
             Record No. 1105-21-3
             Opinion rendered by Judge Humphreys on
              August 30, 2022

          2. Jaquan Ramone Brown
              v. Commonwealth of Virginia
              Record No. 0722-21-3
              Opinion rendered by Judge Friedman on
              September 6, 2022

          3. Shemon Devonte Clayton
             v. Commonwealth of Virginia
             Record No. 1246-21-3
             Opinion rendered by Judge AtLee on
              September 13, 2022

          4. Shemo Devonte Clayton, a/k/a, etc.
             v. Commonwealth of Virginia
             Record No. 1247-21-3
             Opinion rendered by Judge AtLee on
              September 13, 2022
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:


1. Kionne L. Pulley, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 1203-20-3
   Opinion rendered by Judge AtLee
    on December 28, 2021
   Refused (220070)

2. Gabriel Seth Worsham, etc.
   v. Kathleen Bonnie Crispin Worsham, etc., et al.
   Record No. 0663-21-3
   Opinion rendered by Judge Raphael
    on January 11, 2022
   Refused (220142)

3. C. Ray Davenport, Commissioner, etc.
   v. Utility Trailer Manufacturing Company
   Record No. 0285-21-3
   Opinion rendered by Judge Humphreys
     on January 18, 2022
   Refused (220117)

4. Horacio Eugenio Sobol
   v. Christine Marie Sobol
   Record No. 0459-21-4
   Opinion rendered by Judge Russell
    on January 25, 2022
   Petition for appeal withdrawn as case settled (220160)

5. Rodney Massie
   v. Commonwealth of Virginia
   Record No. 0282-21-4
   Opinion rendered by Judge Russell
    on February 8, 2022
   Refused (220143)
